IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

 Karen McNeil, et al.,                      │
                                            │
 v.                                         │    Case No. 1:18-cv-33
                                            │
 Community Probation Services, LLC, et al., │
 ______________________________________________________________________________

   PSI Defendants’ Response in Opposition to Plaintiffs' Motion to Order PSI to Produce
          Limited Discovery in Light of Named Plaintiff Tanya Mitchell’s Death
 ______________________________________________________________________________

        Defendants Progressive Sentencing, Inc., PSI-Probation II, LLC, PSI-Probation, L.L.C.,

 Tennessee Correctional Services, LLC, Timothy Cook, Markeyta Bledsoe, and Harriet

 Thompson (collectively, the “PSI Defendants” or “these Defendants”) oppose the plaintiffs'

 Motion to Order PSI to Produce Limited Discovery in Light of Named Plaintiff Tanya Mitchell’s

 Death (Doc. No. 404) as follows:

        The plaintiffs' motion seeks to force these defendants to produce additional documents

 that would help the plaintiffs identify a new class representative to assert claims for injunctive

 relief against the PSI Defendants. The Court should decline to order these documents produced

 now for the following reasons.

        First, in the interest of judicial efficiency, discovery in this case is stayed until the Court

 rules on the pending dispositive motions. (Doc. No. 382, Order, p. 3, stating “the Court

 concludes it serves the interest of judicial efficiency for the Court to stay additional discovery

 until the pending dispositive motions are resolved.”). The PSI Defendants invested substantial

 time, money, and effort to present the Court with a complete motion for summary judgment on

 all of Tanya Mitchell’s claims at the earliest possible opportunity. Their motion was first filed

 on August 14, 2019 (Doc. No. 301), was renewed pursuant to the Court’s orders on May 14,

 2020 (Doc. No. 363), and was fully briefed for the second time as of August 3, 2020 when the


   Case 1:18-cv-00033 Document 405 Filed 12/08/20 Page 1 of 6 PageID #: 11938
PSI Defendants replied to the plaintiffs' second response. (Doc. No. 392). The PSI Defendants

also have a separate dispositive motion pending regarding the mootness of Ms. Mitchell’s

injunctive claims which was filed on July 8, 2020. (Doc. No. 384). As such, these defendants

respectfully request that the Court not alter the stay on discovery and rule on their pending

motion for summary judgment prior to considering whether to order them to produce any more

documents to the plaintiffs. This result would further the ends of judicial efficiency and avoid

substantial prejudice to the PSI Defendants.

         Moreover, there is no urgency for any additional documents to be produced because of

Tanya Mitchell’s death. 1 The issue of substitution of Ms. Mitchell’s Estate under Rule 25 is

completely separate from the issue of adding an entirely new plaintiff and entirely new claims to

the case by purportedly amending their complaint under Rule 15. The plaintiffs do have a

January 12, 2021 deadline to move to substitute the estate under Rule 25, but the only deadline

for moving to amend the complaint and substitute in a new party ran more than seven months

ago on April 1, 2019. (Doc. No. 229, Order, p. 3). Consequently, the plaintiffs can raise the

issue of amendment and adding a new class representative any time, and there will be no harm in

ruling on the dispositive motions before addressing the issue of amendment.

         In any event, as explained here, Ms. Mitchell’s claims for injunctive relief became moot

upon her death and no new plaintiff can carry those claims forward as plaintiffs' suggest.

Plaintiff Tanya Mitchell’s estate cannot continue her claims for injunctive relief forward because

these claims became moot for all purposes upon her death. Beaudry v. TeleCheck Servs., Inc.,




1 Plaintiffs' counsel was aware of this on September 17, 2020. Exhibit 1, email exchange between counsel. A month
later, on October 14, 2020, the PSI Defendants filed a suggestion of death because it did not appear that the plaintiffs
were going to notify the court of Ms. Mitchell’s death in a timely manner, in order to avoid creating a deadline for
their motion to substitute. (Doc. No. 398).




    Case 1:18-cv-00033 Document 405 Filed 12/08/20 Page 2 of 6 PageID #: 11939
No. 3:07-0842, 2016 WL 11398115, at *11 (M.D. Tenn. Sept. 29, 2016) 2 (ruling that the

purported class action named-plaintiff’s “claims for injunctive and declaratory relief were

rendered moot for all purposes by her death,” in the course of adjudicating the plaintiffs' motions

to intervene and substitute following the named plaintiffs' death); Immel v. Lumpkin, 408 Fed.

Appx. 920, 921–22 (6th Cir. 2010) (explaining that the deceased plaintiff’s injunctive claims

were moot because she “no longer has ‘a legally cognizable interest in the outcome.’”) (citing

United States v. City of Detroit, 401 F.3d 448, 450 (6th Cir.2005); Bowman v. Corr. Corp. of

Am., 350 F.3d 537, 550 (6th Cir.2003); Allen v. Mansour, 928 F.2d 404, 1991 WL 37832, at *1

(6th Cir.1991) (unpublished table decision)).

          In any event, by stating that they need the additional documentation to “identify a new

named Plaintiff who can carry on Ms. Mitchell’s injunctive claims,” the plaintiffs fail to

recognize that there are no claims to carry on. (Doc. No. 404, plaintiffs' motion for discovery, p.

2). The injunctive claims were extinguished by her death. If and when the plaintiffs actually do

file a motion to amend, these defendants will fully brief the legal issues that arise from trying to

add a new plaintiff after all applicable deadlines have passed, more than two-and-a-half years

after the case was filed, and about three months before it is set for trial.

          The PSI Defendants have contemplated filing an additional motion to dismiss for

mootness due to Ms. Mitchell’s passing, but for efficiency, decided to wait until the Court’s

ruling on the pending dispositive motions. If the Court’s ruling is favorable to PSI, no additional

motion practice will be necessary. See Turnage v. Oldham, No. 2016-cv-2907-SHM-tmp, 2019


2 Beaudry v. TeleCheck Servs., Inc., No. 3:07-0842, 2016 WL 11398115, at *11 (M.D. Tenn. Sept. 29, 2016) is a case from this

Court that addresses the situation where a named plaintiff for a purported class dies prior to class certification, and the plaintiffs
moved to substitute the estate for damages claims and moved to intervene on behalf of a new plaintiff who wanted to represent
the class. The Court’s analysis in Beaudry provides a good overview of the issues that arise in this situation. Notably, the Court
in that case denied the plaintiffs' motion to intervene and add a new plaintiff primarily because the plaintiffs had known of the
potential problems with the original named plaintiffs' claims before the death and failed to try and intervene. Id. at *5–10
(analyzing the factors guiding a court’s decision on a properly made motion to intervene).




   Case 1:18-cv-00033 Document 405 Filed 12/08/20 Page 3 of 6 PageID #: 11940
WL 5424425, *3 (Oct. 22, 2019) (discussing the effect a named representative’s death has on

injunctive claims and the need for a defendant to file a motion to dismiss for mootness).

       It is also worth noting that while the estate may technically be substituted in to continue

pursuit of Ms. Mitchell’s damages claims, there is absolutely no point in doing so. The Sixth

Circuit has already ruled in this case that the plaintiffs cannot recover money damages against

these defendants under § 1983 because they only sued the companies in their “official

capacities,” which is how they prevent the defendants from claiming qualified immunity. See

McNeil v. Cmty. Prob. Servs., LLC, No. 19-5660, 2020 WL 973120, *1–2 (6th Cir. Feb. 28,

2020) (explaining that the plaintiffs cannot recover money damages from the companies on their

§ 1983 claims, and that judicial estoppel prevents the plaintiffs from arguing otherwise). As

such, moving to substitute the estate for the damages claims is pointless and will be a knowing

waste of everyone’s time, effort and energy. These defendants will oppose the plaintiffs' motion

to substitute on these and other grounds.

       Moreover, probationer files contain highly sensitive and confidential information (e.g.,

personal identification information, private health information, financial information, and

complete criminal histories), and the plaintiffs have failed to adequately safeguard the thousands

of files that have been turned over already because they allowed them all to be stolen by hackers.

See Exhibit 2, Nov. 6, 2020 letter from plaintiffs' counsel notifying them that all of the

information was stolen on September 13, 2020 by hackers; see also Doc. No. 220, Order, p. 2, ¶

5, limiting disclosure of the confidential information to certain specified persons. Consequently,

defendants will not voluntarily provide plaintiffs with additional sensitive files unless they are

ordered to do so by the Court.




  Case 1:18-cv-00033 Document 405 Filed 12/08/20 Page 4 of 6 PageID #: 11941
       Lastly, this case is currently set for trial on March 23, 2021, and entertaining the idea of

substituting in a new party at this stage would be prejudicial to the PSI Defendants who are

nearly ready for trial. (Doc. No. 396, Order setting case for trial).

       Based on the foregoing, these defendants respectfully request that the Court deny the

plaintiffs' motion for additional discovery.




                                                       Respectfully Submitted,

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  Case 1:18-cv-00033 Document 405 Filed 12/08/20 Page 5 of 6 PageID #: 11942
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 Case 1:18-cv-00033 Document 405 Filed 12/08/20 Page 6 of 6 PageID #: 11943
